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                                                   Hearing Date and Time: To be determined.
                                                        Response Deadline: October 25, 2019
                                                         Reply Deadline: November 15, 2019
PAUL, WEISS, RIFKIND, WHARTON &
GARRISON LLP
1285 Avenue of the Americas
New York, New York 10019
Tel: 212-373-3000
Fax: 212-757-3990
Andrew N. Rosenberg
Aidan Synnott
William A. Clareman

Counsel for the Ad Hoc Defendants

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re:                                            Chapter 15

 PERFORADORA ORO NEGRO, S. DE R.L. DE C.V., Case No. 18-11094 (SCC) (Jointly
 et al.                                     Administered)

 Debtors in a Foreign Proceeding.
 GONZALO GIL-WHITE, PERSONALLY AND IN              Adv. Pro. No. 19-1294(SCC)
 HIS CAPACITY AS FOREIGN REPRESENTATIVE
 of PERFORADORA ORO NEGRO, S. DE R.L. DE
 C.V. AND INTEGRADORA DE SERVICIOS
 PETROLEROS ORO NEGRO, S.A.P.I. DE C.V.

                            Plaintiff,

                     -against-

 ALP ERCIL; ALTERNA CAPITAL PARTNERS,
 LLC; AMA CAPITAL PARTNERS, LLC; ANDRES
 CONSTANTIN ANTONIUS-GONZÁLEZ; ASIA
 RESEARCH AND CAPITAL MANAGEMENT LTD.;
 CQS (UK) LLP; FINTECH ADVISORY, INC.;
 DEUTSCHE BANK MEXICO, S.A., INSTITUCIÓN
 DE BANCA MÚLTIPLE; GARCÍA GONZÁLEZ Y
 BARRADAS ABOGADOS, S.C.; GHL
 INVESTMENTS (EUROPE) LTD.; JOHN
 FREDRIKSEN; KRISTAN BODDEN; MARITIME
 FINANCE COMPANY LTD.; NOEL BLAIR
 HUNTER COCHRANE, JR; ORO NEGRO PRIMUS
 PTE., LTD.; ORO NEGRO LAURUS PTE., LTD.;
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    ORO NEGRO FORTIUS PTE., LTD.; ORO NEGRO
    DECUS PTE., LTD.; ORO NEGRO IMPETUS PTE.,
    LTD.; PAUL MATISON LEAND, JR.; ROGER
    ALAN BARTLETT; ROGER ARNOLD HANCOCK;
    SEADRILL LIMITED; SHIP FINANCE
    INTERNATIONAL LTD.; and DOES 1-100

                                    Defendants.

                       NOTICE AND MOTION TO DISMISS COMPLAINT


                 PLEASE TAKE NOTICE THAT, upon the accompanying Defendants’

Memorandum of Law in Support of Their Motion to Dismiss, the Declaration of William A.

Clareman and the exhibits thereto, and the Declaration of Rodrigo Zamora and the exhibits thereto,

and all pleadings and proceedings heretofore had before this Court, Defendants Alterna Capital

Partners, LLC, AMA Capital Partners, LLC, Maritime Finance Company Ltd., Kristan Bodden,

Paul Matison Leand, Jr., Asia Research and Capital Management, Ltd., CQS (UK), Alp Ercil, GHL

Investments (Europe) Ltd., and Ship Finance Company, Ltd. (the “Ad Hoc Defendants”), 1 by and

through their undersigned counsel, will move before the Honorable Shelley C. Chapman, United

States Bankruptcy Judge, in Courtroom 623 of the United States Bankruptcy Court, Southern

District of New York, One Bowling Green, New York, New York, 10004, at a date and time to be

determined by the Court, pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(3), and

12(b)(6), for the entry of an Order (i) dismissing the Complaint in its entirety, and (ii) granting

such other and further relief as this Court may deem just and proper. (Hereinafter, the “Motion.”)

                 PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must

be in writing, must conform to the Federal Rules of Bankruptcy Procedure (the “Bankruptcy


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     Asia Research and Capital Management, Ltd., CQS (UK), Alp Ercil, GHL Investments (Europe) Ltd., and Ship
     Finance Company, Ltd., (together, the “Foreign Defendants”) object to personal jurisdiction and have filed a
     Motion to Dismiss the Complaint under Rule 12(b)(2) of the Federal Rules of Civil Procedure, filed
     contemporaneously herewith.


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Rules”) and the Local Rules of the Bankruptcy Court for the Southern District of New York, must

set forth the name of the objecting party, the basis for the objection and the specific grounds

therefore, and must be filed with the Bankruptcy Court, by no later than October 25, 2019, and

any objection must further be served upon (i) Paul, Weiss, Rifkind, Wharton & Garrison LLP,

1285 Avenue of the Americas, New York, New York 10019, Attn: Andrew N. Rosenberg, Esq.,

Aidan Synnott, Esq., William A. Clareman, Esq., and Claudia Tobler, Esq., attorneys for Ad Hoc

Defendants; (ii) Quinn Emanuel Urquhart & Sullivan, LLP, 1300 I Street NW, Washington, D.C.,

Attn: Juan P. Morillo, Esq., attorney for Plaintiffs; and (iii) those parties who have filed a notice

of appearance in the above referenced adversary proceeding.

               PLEASE TAKE FURTHER NOTICE, that a hearing will be held with respect to

the Motion on a date and at a time to be determined by the Court.




                                     [signature page follows]




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Dated: August 26, 2019
New York, New York                           PAUL, WEISS, RIFKIND, WHARTON
                                             & GARRISON LLP

                                             /s/ William A. Clareman
                                             Andrew N. Rosenberg
                                             Aidan Synnott
                                             William A. Clareman
                                             Claudia Tobler
                                             Christopher Hopkins
                                             Crystal Johnson

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                                             New York, New York 10019
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                                             chopkins@paulweiss.com
                                             cjohnson@paulweiss.com

                                             Counsel for the Ad Hoc Defendants




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